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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    HELEN SWARTZ,                                                       CIVIL ACTION

          Plaintiff,
                                                                        NO. 21-1565-KSM
          v.

    SGV ASSOCIATES LLC,

          Defendant.



                                                     ORDER

         AND NOW, this 21st day of June, 2021, the parties having informed the Court that they

have settled this matter; accordingly, it is hereby ORDERED as follows:

         1.       This action is DISMISSED WITH PREJUDICE pursuant to agreement of

counsel without costs pursuant to Rule 41.1(b) of the Local Rules of Civil Procedure of this Court.1

The Court shall retain jurisdiction for a period of ninety (90) days while the parties memorialize

their settlement agreement; and

         2.       The clerk of court shall mark this matter as CLOSED.


                                                               BY THE COURT:


                                                               /s/ Karen Spencer Marston
                                                               KAREN SPENCER MARSTON, J.




1
 Rule 41.1(b) provides that any dismissal order entered “may be vacated, modified, or stricken from the record, for
cause shown, upon the application of any party served within ninety (90) days of the entry of such order of dismissal,
provided the application of the ninety-day time limitation is consistent with Federal Rule of Civil Procedure 60(c).”
E.D. Pa. Loc. Civ. R. 41.1(b).
